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UNITED STATES DISTRICT C()URT
MIDDLE I)ISTRICT OF FLORIDA

 

TAMPA I)IVISION
ROBERT THERRIEN,
Plaintiff,
v. Case No: 8:17-CV-2904-T-27TGW
SYNCHRONY BANK,
Defendant.
/
Q_RM

BEFORE THE COURT is Defendant’s Unopposed Motion to Stay Proceedings and
Compei Arbitration (Dkt. 14). The Motion is GRANTED and this case is STAYED pending
arbitration The Clerk is directed to terminate any pending motions and CLOSE the file.

DoNE ANI) oRDERED this Zlday efMarCh, 2013.

 

United States District Judgc

Copies to:
Counsel ofRecord

